
OPINION.
Love :
Petitioner failed to introduce sufficient evidence to show that the Commissioner committed error. On the question of the amount drawn by McLoon there is only testimony by him that he used the money in another business in which he was interested, and intended to repay it to petitioner with dividends from that business. The books were not produced and we have no evidence of what they show or of what petitioner’s actions were at any time with respect to dividends.
*818It was petitioner’s contention that the Commissioner used the depreciated cost instead^ of the original cost as the basis upon which to compute depreciation. The only testimony offered related to rates of depreciation that should be allowed on the several kinds of property owned by the petitioner, as to which there was no substantial controversy, and there is nothing in evidence to show the correct capital figures to which those rates should be applied.

Judgment will he entered for live respondent.

